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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISON

JYQWAVOUS WHITAKER,                                  )
                                                     )
                          Plaintiff,                 )
                                                     )
v.                                                   )
                                                     )     CIVIL ACTION NO.
SHERIFF VICTOR HILL, in his individual               )
And official capacities, as Sheriff of Clayton       )
County Georgia and RAYMON SHEROD                     )     1:21-cv-03781-AT-JSA
WINN, in his individual capacity, as a Clayton       )
County Deputy Sherriff                               )
                                                     )
                          Defendants.                )
                                                     )

              DECLARATION OF CARLITHA WHITAKER

         CARLITHA WHITAKER, acting in accordance with 28 U.S.C. §

1746, does hereby declare and say:

         1.   My name is Carlitha Whitaker. I am the mother of Jyqwavous

Whitaker, Plaintiff in the above-captioned litigation, and I am submitting

this declaration in support of the Amended Complaint for Damages and

Demand for Jury Trial filed herein on December 23, 2021. I am familiar

with the issues involved in this litigation. I am over the age of eighteen (18)

years and otherwise competent to testify about the statements made herein,

which are made based upon my personal knowledge.
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      2.     My son has been assaulted numerous times during his

incarceration without cause or provocation by members of the Scorpion

Team, a special disciplinary assault squad selected by Sheriff Victor Hill of

the Clayton County Sheriff s Office.

      3.     During his incarceration, Jyqwavous has never been able to

utilize the grievance procedure successfully to protect himself from

members of the Scorpion Team who have repeatedly assaulted him.

      4.     In fact, it seems like the members of the Scorpion Team have

assaulted and intimidating Jyqwavous to prevent and discourage him from

using the grievance procedure.

      5.     On January 18, 2019 at approximately 6:49PM, Jyqwavous was

beaten up by Deputies Bert and Clayborn, members of the Scorpion Team,

without cause or provocation. He was seriously injured.

      6.     I had no contact with Jyqwavous because he was placed in the

hole immediately.

      7.     I was told he was written up for horseplaying in the shower.

This didn t make sense to me. I started calling, sending emails and

demanding an investigation, including the pulling of camera footage.

      8.     After an investigation, Deputies Berts and Clayborn, indicated

that they made a mistake. Then, Jyqwavous was released from the hole.



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This was the first incident.

      9.      On April 2, 2019 at approximately 11:39AM, Jyqwavous was

beaten up by Deputies Berts, Clayborn and Williams, members of the

Scorpion Team, without cause or provocation. They injured his eye and beat

him in his face and head causing his braces to be imbedded in his lips. He

required stitches in his bottom lip. After the assault, he suffered from chest

tightness and shortness of breath. He thought that his ribs were broken, but

he was denied treatment for more than twenty (20) days.

      10.     Jyqwavous was placed in maximum security isolation

immediately. When I received messages from other detainees that

Jyqwavous was assaulted, and I was unable to get in touch with him, I made

repeated calls to the Clayton County Sheriff s Office. My calls were

intercepted and transferred from department to department.

      11.    I was not able to communicate with anyone in the Clayton

County Sheriff s Office until I reached Major Mark Felgenhauer on April

19, 2019.

      12.    I was able to communicate with Jyqwavous indirectly through a

female inmate who relayed messages through the ventilation system.

      13.    On April 22, 2019, I was permitted a wellness check. I saw

Jyqwavous for about fifteen (15) minutes. We were alone for only five (5)



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minutes. Jyqwavous was guarded by two heavily armed officers in all black

who I believe were members of the Scorpion Team. He had handcuffs on

his ankles and wrists.

      14.    After the assault on April 2, 2019, I realized that Jyqwavous

was being targeted, assaulted and intimidated by the Scorpion Team.

      15.    As a result, on April 23, 2019, I filed two complaints with

Internal Affairs for the assault on January 18, 2019 and the assault on April

2, 2019. (See Exhibits A and B ).

      16.    Jyqwavous was released from maximum security isolation

shortly thereafter.

      17.    On September 12, 2019 at approximately 10:30 AM,

Jyqwavous was savagely beaten up by former Clayton County Sheriff s

Office Deputy Winn, a member of the Scorpion Team. He was badly

injured and taken to the medical ward for treatment.

      18.    While he was in the medical ward, a nurse permitted

Jyqwavous to make a phone call to me.

      19.    During the call, he told me that this dude just beat me so bad, I

thought that he was going to kill me. He said that he had been unconscious

due to Deputy Winn picking him up by his neck. He sounded afraid. He

said that we had to get him out of the jail. He directed me to get the medical



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records and the camera footage.

      20.    I called the medical ward to get updates on Jyqwavous

condition, and I was told by Captain Peterkin, a member of the Scorpion

Team, all I can tell you is that he is alive.

      21.    I decided that the first thing I needed to do was request

Jyqwavous medical records. I also requested Deputy Winn s badge

number. I finally obtained it after a lack of cooperation from the supervisor.

I was not able to get a copy of the disciplinary reports for Jyqwavous from

classification.

      22.    After I collected as much information as I could, I went to

Internal Affairs on September 20, 2019 and made a formal complaint. (See

Exhibit C ).

      23.    I also went to classification and asked to speak to Lieutenant

Gibson. Lieutenant Gibson said that Jyqwavous started a fight that he

couldn t finish. I asked if there was any camera footage, and he laughed at

me.

      24.    Shortly after I left the Clayton County jail, Lieutenant Gibson

allowed Jyqwavous to call me from an unfamiliar jail phone number.

Jyqwavous was not speaking freely as if the call was monitored.




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